     Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 1 of 21




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                     5:21-cv-844-XR

GREGORY W. ABBOTT, et al.,

                   Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                     1:21-cv-0780-XR

JOSE A. ESPARZA, et al.,

                           Defendants.
HOUSTON JUSTICE, et al.,
                           Plaintiffs,
       v.                                    5:21-cv-0848-XR

GREGORY WAYNE ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                    1:21-cv-0786-XR

JOSE EXPARZA, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                    5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.
         Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 2 of 21




              PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

         Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiffs in the above-captioned

actions, collectively, serve these Requests for Production upon Defendant John Scott, in his official

capacity as the Texas Secretary of State.

         Responses to these Requests are to be produced to Graham White within 30 days of receipt.

To arrange for electronic production, please contact Mr. White at gwhite@elias.law. Anything that

cannot be produced electronically should be produced to Mr. White at Elias Law Group LLP, 10

G Street NE, Suite 600, Washington, D.C. 20002.

         Each Request for Production is subject to the Definitions and Instructions listed below.

                                            DEFINITIONS

         Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Western District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.

         1.     “24-hour voting” means any method of voting at polling places between the hours

of 7:00 p.m. and 7:00 a.m.

         2.     “Any” or “all” mean “any and all.”

         3.     “Communication” is synonymous in meaning and scope to the term

“communication” as used in Local Rule 26, and includes any transfer of information of any type,

whether written, oral, electronic, or otherwise, and includes transfers of information via email,

report, letter, text message, voicemail message, written memorandum, note, summary, and other

means.

         4.     “Curbside voting” means, as defined in Tex. Elec. Code § 64.009, any method of

voting where a voter, who is physically unable to enter the polling place without personal
                                                  2
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 3 of 21




assistance or likelihood of injuring the voter's health, request that an election officer deliver a ballot

to the voter at the polling place entrance or curb.

        5.      “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

available approximation (including relationship to other events).

        6.      “Demographics” means statistical data relating to the population or groups within

the population, and, as used herein, expressly includes but is not limited to race, age, and gender.

        7.      “Document” is synonymous in meaning and scope to the term “document” as used

in Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to, records,

reports, lists, data, statistics, summaries, analyses, communications (as defined above), computer

discs, tapes, printouts, emails, databases, and any handwritten, typewritten, printed, electronically

recorded, taped, graphic, machine-readable, or other material, of whatever nature and in whatever

form, including all non-identical copies and drafts thereof, and all copies bearing any notation or

mark not found on the original.

        8.      “Drive-thru voting” means any method of voting in which a voter casts a ballot

from inside a motor vehicle.

        9.      “Drop box voting” means any method of voting in which a voter casts a ballot by

depositing their ballot in a ballot box located outside of a polling place.

        10.     “Early voting” means any method of voting that occurs prior to the uniform election

date for a primary or general election.

        11.     “Including” means including, but not limited to.

        12.     “Person” means not only natural persons, but also firms, partnerships, associations,

corporations, subsidiaries, divisions, departments, joint ventures, proprietorships, syndicates, trust

groups, and organizations; federal, state, and local governments or government agencies, offices,



                                                    3
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 4 of 21




bureaus, departments, or entities; other legal, business, or government entities; and all subsidiaries,

affiliates, divisions, departments, branches, and other units thereof or any combination thereof.

       13.     “SB 1” means the legislation designated as Senate Bill 1, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was enacted during the 87th Second

Called Session of the Texas Legislature and signed by the Governor of Texas on September 7,

2021, including any predecessor or related bills from any legislative session in 2021.

       14.     “SB 7” means the legislation designated as Senate Bill 7, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       15.     “HB 3” means the legislation designated as House Bill 3, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th First

Called Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.

       16.     “HB 6” means the legislation designated as House Bill 6, titled “Relating to election

integrity and security, including by preventing fraud in the conduct of elections in this state;

increasing criminal penalties; creating criminal offenses,” that was introduced during the 87th

Regular Session of the Texas Legislature, including any predecessor or related bills from any

legislative session in 2021.




                                                  4
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 5 of 21




       17.     “Straight-ticket voting” means any method of voting in which a voter may select a

political party’s candidates in one motion or gesture.

       18.     “Texas Legislature” means the members and staff of the Texas Senate and Texas

House of Representatives.

       19.     “Voter” means any registered voter in Texas and all persons who may properly

register to vote in Texas by the close of discovery in this case.

       20.     “Vote-by-mail” means any method of voting in which a voter casts a ballot received

in the mail.

       21.     “Vote harvesting” means, as defined in SB 1, an in-person interaction with one or

more voters, in the presence of the ballot or during the voting process, intended to deliver votes

for a specific candidate or measure.

       22.     “You” and “your” means Texas Secretary of State John B. Scott, and his office,

including its employees, staff, agents, and representatives.

                                         INSTRUCTIONS

       1.      You shall produce materials and serve responses and any objections within 30 days

       after service of these Requests for Production.

       2.      If you object to any part of a request, set forth the basis of your objection and

respond to all parts of the request to which you do not object. Any ground not stated in a timely

objection is waived.

       3.      If, in responding to these Requests for Production, you encounter any ambiguities

when construing a request or definition, set forth the matter deemed ambiguous and the

construction used in responding.

       4.      Regarding any document withheld from production on a claim of privilege or work

product protection, provide a written privilege log identifying each document individually and
                                                  5
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 6 of 21




containing all information required by Federal Rule of Civil Procedure 26(b)(5), including a

description of the basis of the claimed privilege and all information necessary for Plaintiff to assess

the claim of privilege.

       5.       Produce all documents available to you or subject to your access or control that are

responsive to the following document production topics. This includes documents in your actual

or constructive possession or control and in the actual or constructive possession or control of your

attorneys, investigators, experts, and anyone else acting on your behalf.

       6.       Documents are to be produced as they are kept in the ordinary course of business.

Accordingly, documents should be produced in their entirety, without abbreviation, redaction, or

expurgation; file folders with tabs or labels identifying documents responsive to this subpoena

should be produced intact with the documents; and documents attached to each other should not

be separated.

       7.       All documents are to be produced in electronic form. All documents including

emails, should be produced in single page TIFF format, showing comments and track changes

where applicable, with text extract and load files containing standard fielded information and

metadata. TIFF images shall be placed in an Images folder with any given subfolder not to exceed

5,000 images per folder and accompanied by an .opt placed in a Data folder. Each page of a

document should be assigned a unique production number (aka Bates number) electronically

“burned” onto the image at allocation that does not unreasonably conceal or interfere with

information on the document. The number should be consistent across the production, contain no

special characters, and be numerically sequential within a given document. Attachments to

documents should be assigned numbers that directly follow in sequential order the Bates numbers




                                                  6
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 7 of 21




on the documents to which they were attached. If a number or set of numbers is skipped, the

skipped number or set of numbers should be noted, for example with a placeholder.

       8.      Each request and subparagraph thereof are to be answered separately. To the extent

that you do not have any documents reflecting the information requested herein, and/or any means

of recording the information requested herein, please so indicate in your response to the specific

production request.

       9.      Each document produced should be categorized by the number of the document

request in response to which it is produced.

       10.     If any otherwise responsive document was, but is no longer, in existence or in your

possession, custody, or control, identify the type of information contained in the document, its

current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

circumstances surrounding its disposition from your possession or control.

       11.     These Requests are continuing in nature, up to and including the course of trial.

Materials sought by these Requests that become available after you serve your responses must be

disclosed to counsel for Plaintiff by supplementary response or responses.

       12.     Pursuant to Federal Rule of Civil Procedure 26(e), you are under a duty to promptly

amend your responses to these Requests if you learn that an answer is in some material respect

incomplete or incorrect. If you expect to obtain further information or expect the accuracy of a

response given to change between the time responses are served and the time of trial, you are

requested to state this fact in each response.

       13.     If you contend that it would be unreasonably burdensome to obtain and provide all

of the documents called for in response to any document request or any subsection thereof, then in



                                                 7
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 8 of 21




response to the appropriate document request: (a) produce all such documents as are available to

you without undertaking what you contend to be an unreasonable request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents; and (c) state

with particularity the grounds upon which you contend that additional efforts to produce such

documents would be unreasonable.

       14.     The singular form of a noun or pronoun includes the plural form, and the plural

form includes the singular.

       15.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a document production topic all responses

that otherwise might be construed to be outside its scope.

       16.     A reference to an entity in this request shall be construed to include its officers,

directors, partners, members, managers, employees, representatives, agents, consultants, and

anyone acting on its behalf.

       17.     The document production topics apply to the period from 2016 through the present,

unless otherwise limited or expanded by a particular topic description.

                               REQUESTS FOR PRODUCTION

       REQUEST FOR PRODUCTION NO. 1. All documents and communications regarding

any rationale(s) for drafting or enacting SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 2. All documents and communications regarding

the implementation or enforcement of SB 1, SB 7, HB 3, or HB 6.

       REQUEST FOR PRODUCTION NO. 3. All documents and communications regarding

voter turnout, including patterns of voter turnout by racial or ethnic minorities, disabled persons,

and partisan affiliation during the 2020 primary and general elections.



                                                 8
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 9 of 21




       REQUEST FOR PRODUCTION NO. 4. All documents and communications regarding

the impact or potential impact of SB 1, SB 7, HB 3, or HB 6 on particular demographics,

including but not limited to racial or ethnic minorities, disabled persons, and party affiliation.

       REQUEST FOR PRODUCTION NO. 5. All documents and communications regarding

usage of the following methods of voting by racial or ethnic minorities and disabled persons, or

by party affiliation, during the period from 2016 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting;

       (g) Curbside voting;

       (h) All other methods of voting.

       REQUEST FOR PRODUCTION NO. 6. All documents and communications regarding

voter assistance, including transportation assistance and vote harvesting, and patterns of requests

for voter assistance by race, ethnicity, disability status, or party affiliation during the period from

2016 to present.

       REQUEST FOR PRODUCTION NO. 7. All documents and communications regarding

the number or proportion of Texas residents, Texas citizens of voting age, or Texas registered

voters who have, or lack, a driver’s license, election identification certificate, personal

identification card, or social security number, including patterns by race, ethnicity, disability

status, or party affiliation from 2016 to present.


                                                     9
      Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 10 of 21




       REQUEST FOR PRODUCTION NO. 8. All documents and communications

discussing actual or alleged illegal voting, election fraud, or other criminal conduct in connection

with the following methods of voting during the period from 2016 to present:

       (a) Drop-box voting;

       (b) Drive-thru voting;

       (c) 24-hour voting;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting;

       (g) Curbside voting;

       (h) All other methods of voting.

       REQUEST FOR PRODUCTION NO. 9. All documents and communications regarding

the methods you took to secure, monitor, surveil, watch, or supervise the following methods of

voting during the period from 2016 to present:

       (a) Drive-thru voting;

       (b) 24-hour voting;

       (c) Ballot drop boxes;

       (d) Straight-ticket voting;

       (e) Vote-by-mail;

       (f) Early voting;

       (g) Curbside voting;

       (h) All other methods of voting.




                                                 10
      Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 11 of 21




       REQUEST FOR PRODUCTION NO. 10. All documents and communications

regarding actual or alleged illegal voting, election fraud, or other criminal conduct in connection

with voter assistance, including transportation assistance and vote harvesting, during the period

from 2016 to present.

       REQUEST FOR PRODUCTION NO. 11. All documents and communications

regarding instances of violence, discrimination, harassment, intimidation, or inappropriate

behavior from a partisan poll watcher, poll worker, or election judge, during the period from

2016 to present.

       REQUEST FOR PRODUCTION NO. 12. All documents and communications related

to voting practices, election administration, and voter turnout in Harris County.

       REQUEST FOR PRODUCTION NO. 13. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct relating to elections

in Harris County.

       REQUEST FOR PRODUCTION NO. 14. All documents and communications related

to voting practices, election administration, and voter turnout in Bee County.

       REQUEST FOR PRODUCTION NO. 15. All documents and communications related

to voting practices, election administration, and voter turnout in Bexar County.

       REQUEST FOR PRODUCTION NO. 16. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct related to elections in

Bexar County.

       REQUEST FOR PRODUCTION NO. 17. All documents and communications related

to actual or alleged election fraud, illegal voting, and other criminal conduct related to elections in

Bee County.



                                                  11
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 12 of 21




        REQUEST FOR PRODUCTION NO. 18. All communications between you and the

Texas Legislature regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding

the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities,

disabled persons, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 19. All communications between you and the

Texas Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the

impacts or potential impacts of SB 1 on racial or ethnic minorities, disabled voters, and voters by

party affiliation.

        REQUEST FOR PRODUCTION NO. 20. All communications between you and the

Texas Lieutenant Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications

regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic

minorities and disabled voters, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 21. All communications between you and the

Texas Attorney General regarding SB 1, SB 7, HB 3, and HB 6, including communications

regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic

minorities and disabled voters, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 22. All documents and communications between

you and local election officials regarding SB 1, SB 7, HB 3, and HB 6, including

communications regarding the impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on

racial or ethnic minorities and disabled voters, and on voters by party affiliation.

        REQUEST FOR PRODUCTION NO. 23. All communications between you and the

following third-party organizations, including any of their affiliates or subsidiaries, regarding SB




                                                 12
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 13 of 21




1, SB 7, HB 3, and HB 6, including communications regarding the impacts or potential impacts

of SB 1 on racial or ethnic minorities and disabled voters, and on voters by party affiliation:

        (a) The Heritage Foundation

        (b) The Texas Public Policy Foundation

        (c) The American Legislative Exchange Council

        (d) The State Policy Network

        (e) Honest Elections Project

        (f) Public Interest Legal Foundation

        (g) American Civil Rights Union

        (h) Project Veritas

        (i) The Republican National Committee

        REQUEST FOR PRODUCTION NO. 24. All database dictionaries and user manuals

related to the Texas Election Administration Management (TEAM) database, the driver license

and personal identification card database, and the election identification certificate database.

        REQUEST FOR PRODUCTION NO. 25. The contents of all fields contained within the

State of Texas’s voter registration database, also known as the Texas Election Administration

Management System (TEAM), used to determine voter eligibility; to implement or enforce SB 1;

to record voter history in any federal, state, or municipal election since 2016 (including whether

the individual cast a ballot by mail and whether the individual received voter assistance); to

establish the correct driver’s license, election identification certificate, personal identification card,

or partial social security number for each voter under procedures established by Section 5.02 of

SB 1 (to be codified at Tex. Elec. Code § 84.002) and Section 5.08 of SB 1 (to be codified at Tex.

Elec. Code § 86.002); to identify absent uniformed services voters and overseas voters entitled to


                                                   13
        Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 14 of 21




the protections of the Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C. §§ 20301-

11, Chapter 101 of the Texas Election Code, Tex. Elec. Code §§ 101.001-.109, or Chapter 114 of

the Texas Election Code, Tex. Elec. Code §§ 114.001-.008; and to identify voters who have

reported or established disability status for voting purposes.

          a. With respect to voter eligibility this request covers but is not limited to the following

              fields in TEAM (identified by currently understood field name as well as by field

              contents):

 Field Name                Field Description           ST_DIR_SUFFIX              Voter Residential Street
                                                                                  Direction Suffix
 VOTER_COUNTY_ID           Internal database key       UNIT_NUMBER                Voter Residential Unit
                                                                                  Number
 JUR_ID                    Aka Jurisdiction ID,        CITY                       Voter Residential City
                           County Number, or                                      Name
                           County Code
 VUID                      Voter Unique ID             STATE                      Voter Residential State
                                                                                  Name
 LAST_NAME                 Voter Last Name             ZIP_CODE                   Voter Residential
                                                                                  ZipCode
 FIRST_NAME                Voter First Name            MAIL_NAME                  Voter Mailing Address
                                                                                  Name
 MIDDLE_NAME               Voter Middle Name           MAIL_ADRS_1                Voter Mailing Address
                                                                                  Line1
 FORMER_LAST_NAME          Voter Former Last           MAIL_ADRS_2                Voter Mailing Address
                           Name                                                   Name Line2
 NAME_SUFFIX_CODE          Voter Name Suffix           MAIL_CITY                  Voter Mailing City
                                                                                  Name
 SSN                       Voter Social Security       MAIL_STATE                 Voter Mailing State
                           Number (complete                                       Name
                           where available, or last
                           4 digits where complete
                           is unavailable)
 GENDER_CODE               Voter Gender Code           MAIL_ZIP_CODE              Voter Mailing Address
                                                                                  ZipCode
 OFFICIAL_ID_NUMBER        Texas Drivers License       PCT_CODE                   Precinct Code
                           Number/Texas ID
 DATE_OF_BIRTH             Voter Date of Birth         PCT_NAME                   Precinct Name
 VOTER_STATUS_CODE         Voter Status Code           LANGUAGE_CODE              Language Code
                           (V=Active, C=
                           Cancelled, S=Suspense,
                           L=Live Check Wait
 SPANISH_SURNAME_FG        Indicated whether           REGISTRATION_DATE          Voter Application Date
                           Voter has a Spanish
                           Surname (y=Yes,
                           N=No)



                                                      14
        Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 15 of 21




BLOCK_NUMBER              Voter Residential                   EDR                       Effective Date of
                          Block Number                                                  Registration
DESIGNATOR                Voter Residential                   DISPLAY_CODE              Cancel Event Display
                          Designator                                                    Code (Filled-in for
                                                                                        Cancelled Voters Only)
ST_DIR_PREFIX             Voter Residential                   EVENT_CODE                Cancel Event Code
                          Street Direction Prefix                                       (Filled-in for Cancelled
                                                                                        Voters Only)
STREET_NAME               Voter Residential                   EVENT_DESC                Cancel Event
                          Street Name                                                   Description (Filled-in
                                                                                        for Cancelled Voters
                                                                                        Only)
STREET_TYPE               Voter Residential                   APPLICATION_SOURCE_CODE   Voter Application
                          Street Type                                                   Source Code



         b. With respect to voter history, this request covers, but is not limited to, the following

             fields in TEAM (identified by currently understood field name as well as by field

             contents):

Field Name                                    Field Description
VUID                                          Voter Unique ID
JUR_ID                                        Jurisdiction ID, County
                                              Number, or County Code
HIST_TYPE_CODE                                Voting History Type Code
                                              (recording whether early,
                                              absentee, or election day
                                              votes are accepted or
                                              rejected)
ACTIVITY_DATE                                 Date of Activity (Voted,
                                              Rejected, Etc.)
PROVISIONAL_REJECT_REASON_CODE                Provisional Ballot Rejected
                                              Reason Code
TITLE                                         Provisional Ballot Rejected
                                              Reason Description
ELECTION_DATE                                 Election Date
ELECTION_TYPE_CODE                            Election Type Code: (E.g.,
                                              primary, generally, runoff)
ELECTION_NAME                                 Election Name



         c. With respect to implementation and enforcement of SB 1, this request includes the

             contents of any fields in TEAM necessary for implementation and enforcement of SB

             1’s requirements, including but not limited to the content of all fields recording which

             voters have requested an absentee ballot by mail application, have applied for an

                                                          15
       Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 16 of 21




           absentee ballot by mail, have had an absentee ballot by mail application rejected, have

           had an absentee ballot by mail application accepted, the reason for rejection of an

           absentee ballot by mail application, the reason for acceptance of an absentee ballot by

           mail application, the duration of an accepted absentee ballot by mail application (e.g.,

           annual or one election), whether a voter cast an absentee ballot by mail, whether an

           absentee ballot by mail was accepted, whether an absentee ballot by mail was rejected,

           and the reason an absentee ballot by mail was rejected.

       d. This request seeks any and all other fields produced by the State of Texas from the

           TEAM database during United States v. Texas, No. 2:13-cv-263 (S.D. Tex.).

       REQUEST FOR PRODUCTION NO. 26. The contents of all fields contained within the

State of Texas’s TEAM voter registration database as of 30 days prior to the March 3, 2020 primary

election in Texas (the voter registration deadline in Tex. Election Code § 13.143(e)). This request

is for a snapshot of all registrants in Texas at the voter registration deadline, including those voters

who were listed as canceled.

       REQUEST FOR PRODUCTION NO. 27. The contents of all fields contained within the

State of Texas’s TEAM voter registration database as of 30 days prior to the November 3, 2020

general election in Texas (the voter registration deadline in Tex. Election Code § 13.143(e)). This

request is for a snapshot of all registrants in Texas at the voter registration deadline, including

those voters who were listed as canceled.



 Dated: November 29, 2021.                           Respectfully submitted,

 /s/ Sean Morales-Doyle                              /s/ _Uzoma N. Nkwonta__
 Sean Morales-Doyle (NY Bar No. 5646641)             Uzoma N. Nkwonta*
 Eliza Sweren-Becker* (NY Bar No. 5424403)           Kathryn E. Yukevich*
 Patrick A. Berry* (NY Bar No. 5723135)              Graham W. White*

                                                  16
     Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 17 of 21




Andrew B. Garber* (NY Bar No. 5684147)       ELIAS LAW GROUP LLP
Jasleen K. Singh* (Cal. Bar No. 316596)      10 G Street NE, Suite 600
BRENNAN CENTER FOR JUSTICE AT                Washington, D.C. 20002
NYU SCHOOL OF LAW                            Telephone: (202) 968-4490
120 Broadway, Suite 1750                     unkwonta@elias.law
New York, NY 10271                           kyukevich@elias.law
Telephone: (646) 292-8310                    gwhite@elias.law
Facsimile: (212) 463-7308
sean.morales-doyle@nyu.edu                   Counsel for Plaintiffs LULAC Texas, Voto
eliza.sweren-becker@nyu.edu                  Latino, Texas Alliance for Retired Americans,
patrick.berry@nyu.edu                        and Texas AFT
andrew.garber@nyu.edu
jasleen.singh@nyu.edu                        *Admitted Pro Hac Vice

Paul R. Genender (Tex. Bar No. 00790758)     /s/ Nina Perales
Elizabeth Y. Ryan (Tex. Bar No. 24067758)    Nina Perales (Tex. Bar No. 24005046)
Matthew Berde* (Tex. Bar No. 24094379)       Julia R. Longoria (Tex. Bar No. 24070166)
Megan Cloud** (Tex. Bar No. 24116207)        MEXICAN AMERICAN LEGAL DEFENSE AND
WEIL, GOTSHAL & MANGES LLP                   EDUCATIONAL FUND
200 Crescent Court, Suite 300                110 Broadway, Suite 300
Dallas, Texas 75201                          San Antonio, TX 78205
Telephone: (214) 746-8158
                                             Telephone: (210) 224-5476
Facsimile: (214)746-7777
                                             Facsimile: (210) 224-5382
Paul.Genender@weil.com
Liz.Ryan@weil.com                            nperales@maldef.org
Matt.Berde@weil.com                          jlongoria@maldef.org
Megan.Cloud@weil.com
                                             Michael C. Keats*
Alexander P. Cohen* (Tex. Bar No.            Rebecca L. Martin*
24109739)                                    Breanna Williams***
WEIL, GOTSHAL & MANGES LLP                   Jonathan Bash***
767 Fifth Avenue                             FRIED, FRANK, HARRIS, SHRIVER &
New York, New York 10153                     JACOBSON LLP
Telephone: (212) 310-8020                    One New York Plaza
Facsimile: (212) 310-8007                    New York, New York 10004
Alexander.Cohen@weil.com                     Telephone: (212) 859-8000
                                             Facsimile: (212) 859-4000
Attorneys for Plaintiffs Friendship-West     michael.keats@friedfrank.com
Baptist Church; Anti-Defamation League       rebecca.martin@friedfrank.com
Austin, Southwest, And Texoma Regions;       breanna.williams@friedfrank.com
Texas Impact; James Lewin                    jonathan.bash@friedfrank.com

REED SMITH LLP, NAACP LEGAL DEFENSE & Christopher Bell*
EDUCATIONAL FUND, INC., THE ARC OF THE FRIED, FRANK, HARRIS, SHRIVER &
UNITED STATES, INC.                    JACOBSON LLP
                                       801 17th Street, NW

                                            17
     Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 18 of 21




/s/ Kenneth E. Broughton               Washington, DC 20006
Texas Bar No. 03087250                 Telephone: (202) 639-7000
kbroughton@reedsmith.com               Facsimile: (202) 639-7003
                                       christopher.bell@friedfrank.com
Lora Spencer
Texas Bar No. 24085597                 Attorneys for Plaintiffs La Unión Del Pueblo Entero;
lspencer@reedsmith.com                 Southwest Voter Registration Education Project; Mexican
                                       American Bar Association of Texas;
J. Keely Dulaney*                      Texas Hispanics Organized for Political Education;
Texas Bar No. 24116306                 Jolt Action; William C. Velasquez Institute; Fiel Houston Inc.
kdulaney@reedsmith.com
                                       /s/ Marc T. Rasich
Reed Smith LLP                         Sean Lyons
811 Main Street, Suite 1700            State Bar No. 00792280
Houston, TX 77002-6110                 Sean@lyonsandlyons.com
Telephone: (713) 469-3800              Clem Lyons
Facsimile: (713) 469-3899              State Bar No. 12742000
                                       Clem@lyonsandlyons.com
Sarah M. Cummings
Texas Bar No. 24094609                 Wendy J. Olson (Pro hac vice)
Reed Smith LLP                         Laura E. Rosenbaum (Pro hac vice)
2850 N. Harwood Street, Suite 1500     Marc Rasich (Pro hac vice)
Dallas, TX 75201                       Elijah Watkins (Pro hac vice)
Telephone: (469) 680-4200              STOEL RIVES LLP
Facsimile: (469) 680-4299              760 SW Ninth Avenue, Suite 3000
scummings@reedsmith.com                Portland, OR 97205

Kathryn Sadasivan*                     Courtney Hostetler (Pro hac vice)
Amir Badat*                            Ron Fein (Pro hac vice)
NAACP Legal Defense and Educational    John Bonifaz (Pro hac vice)
Fund, Inc.                             Ben Clements (Pro hac vice)
40 Rector Street, 5th Floor            FREE SPEECH FOR PEOPLE
New York, NY 10006                     1320 Centre Street, Suite 405
Telephone: (212) 965-2200              Newton, MA 02459
Facsimile: (212) 226-7592              chostetler@freespeechforpeople.org
ksadasivan@naacpldf.org                rfein@freespeechforpeople.org
abadat@naacpldf.org                    jbonifaz@freespeechforpeople.org
                                       bclements@freespeechforpeople.org
Jennifer A. Holmes*
Georgina Yeomans*                      Attorneys for Plaintiffs Mi Familia Vota, Marla
NAACP Legal Defense and Educational    Lopez, Marlon Lopez, Paul Rutledge
Fund, Inc.
700 14th Street NW, Suite 600          Mimi M.D. Marziani
Washington, DC 20005                   Texas Bar No. 24091906
Telephone: (202) 682-1300              Ryan V. Cox
Facsimile: (202) 682-1312              Texas Bar No. 24074087

                                      18
     Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 19 of 21




jholmes@naacpldf.org                           Hani Mirza
gyeomans@naacpldf.org                          Texas Bar No. 24083512
                                               TEXAS CIVIL RIGHTS PROJECT
Shira Wakschlag*                               1405 Montopolis Drive
The Arc of the United States, Inc.             Austin, TX 78741
1825 K Street NW, Suite 1200                   512-474-5073 (Telephone)
Washington, DC 20006                           512-474-0726 (Facsimile)
Telephone: (202) 534-3708                      mimi@texascivilrightsproject.org
Facsimile: (202) 534-3731                      ryan@texascivilrightsproject.org
Wakschlag@thearc.org                           hani@texascivilrightsproject.org

* Admitted Pro Hac Vice                        Thomas Buser-Clancy
                                               Texas Bar No. 24078344
Counsel for Plaintiffs Houston Justice;        Savannah Kumar
Houston Area Urban League; Delta Sigma         Texas Bar No. 24120098
Theta Sorority, Inc.; The Arc of Texas; and    Andre Segura
Jeffrey Lamar Clemmons                         Texas Bar No. 24107112
                                               ACLU FOUNDATION OF TEXAS, INC.
                                               5225 Katy Freeway, Suite 350
                                               Houston, TX 77007
                                               Telephone: (713) 942-8146
                                               Fax: (915) 642-6752
                                               tbuser-clancy@aclutx.org
                                               skumar@aclutx.org
                                               asegura@aclutx.org

                                               Adriel I. Cepeda Derieux*
                                               Ari Savitzky*
                                               Sophia Lin Lakin*
                                               Samantha Osaki*
                                               AMERICAN CIVIL LIBERTIES UNION
                                               FOUNDATION
                                               125 Broad St., 18th Floor
                                               New York, NY 10004
                                               (212) 284-7334
                                               acepedaderieux@aclu.org
                                               asavizky@aclu.org
                                               slakin@aclu.org
                                               sosaki@aclu.org

                                               Susan Mizner*
                                               AMERICAN CIVIL LIBERTIES UNION
                                               FOUNDATION
                                               39 Drumm St.
                                               San Francisco, CA 94111
                                               (415) 343-0781 (phone)

                                              19
Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 20 of 21




                                 smizner@aclu.org

                                 Lia Sifuentes Davis
                                 Texas State Bar No. 24071411
                                 Lucia Romano
                                 Texas State Bar No. 24033013
                                 DISABILITY RIGHTS TEXAS
                                 2222 West Braker Lane
                                 Austin, Texas 78758-1024
                                 (512) 454-4816 (phone)
                                 (512) 454-3999 (fax)
                                 ldavis@drtx.org
                                 lromano@drtx.org

                                 Jerry Vattamala*
                                 Susana Lorenzo-Giguere*
                                 ASIAN AMERICAN LEGAL DEFENSE
                                 AND EDUCATION FUND
                                 99 Hudson Street, 12th Floor
                                 New York, NY 10013
                                 (212) 966-5932 (phone)
                                 (212) 966 4303 (fax)
                                 jvattamala@aaldef.org
                                 slorenzo-giguere@aaldef.org

                                 Jessica Ring Amunson*
                                 Urja Mittal*
                                 JENNER & BLOCK LLP
                                 1099 New York Ave. NW, Suite 900
                                 Washington, DC 20001
                                 (202) 639-6000
                                 jamunson@jenner.com
                                 umittal@jenner.com

                                 COUNSEL FOR THE OCA-HG PLAINTIFF GROUP

                                 *admitted pro hac vice




                                20
Case 5:21-cv-00844-XR Document 747-20 Filed 09/01/23 Page 21 of 21




                                21
